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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF LOUISIANA

 DR. DOROTHY NAIRNE, REV. CLEE
 EARNEST LOWE, DR. ALICE
 WASHINGTON, STEVEN HARRIS, BLACK
 VOTERS MATTER CAPACITY BUILDING
 INSTITUTE, and THE LOUISIANA STATE
 CONFERENCE OF THE NAACP,

                              Plaintiffs,            Civil Action No. 3:22-cv-00178
                                                     SDD-SDJ
 v.

 NANCY LANDRY, in her official capacity as
 Secretary of State of Louisiana,

                              Defendant.


                                    [PROPOSED] ORDER

       Having considered Plaintiffs’ motion for a scheduling conference, the Court HEREBY

ORDERS that the parties shall meet to discuss the schedule for the remedial proceedings in this

case on _____________, 2024, at __ [a.m./p.m.].



       Signed in Baton Rouge, Louisiana, this ____ day of __________________, 2024.


                          ___________________________________
                                Chief Judge Shelly D. Dick
